 Case: 6:13-cr-00035-GFVT-HAI           Doc #: 83 Filed: 04/01/14         Page: 1 of 1 - Page
                                          ID#: 250



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )           Criminal No. 13-35-GFVT
                                               )
V.                                             )
                                               )                    ORDER
TODD MASON REID                                )
                                               )
       Defendant.                              )
                                               )
                                      *** *** *** ***

       This matter is before the Court upon the ex parte motion of Defendant Todd Mason Reid.

[R. 59]. Upon the approval of both this Court and the Sixth Circuit Court of Appeals, the

Defendant’s ex parte motion shall be granted for the reasons stated in the Recommended

Disposition of Magistrate Judge Hanly A. Ingram. [R. 67]. Accordingly, it is hereby

ORDERED as follows:

       (1)     The Recommended Disposition [R. 67] as to Todd Reid is ADOPTED as and for

the Opinion of the Court; and

       (2)     The Defendant’s Ex Parte Motion [R. 59] is GRANTED.

       (3)     The Clerk of Court shall file the signed Memorandum in the record under seal.

       This 1st day of April, 2014.
